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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION

MAMED SAMEDOV,                                   )
                                                 )
                      Plaintiff,                 )
                                                 )
       v.                                        )       JURY TRIAL DEMANDED
                                                 )
HUNTER WARFIELD, INC.,                           )
                                                 )
                      Defendant.                 )

                                          COMPLAINT

       NOW COMES the Plaintiff, MAMED SAMEDOV, by and through his attorneys,

LARRY P. SMITH & ASSOCIATES, LTD., and for his complaint against the Defendant,

HUNTER WARFIELD, INC., Plaintiff states as follows:

                               I.        PRELIMINARY STATEMENT

       1.      This is an action for actual and statutory damages for violations of the Fair Debt

Collection Practices Act (hereinafter “FDCPA”), 15 U.S.C. §1692, et seq.

                                   II.    JURISDICTION & VENUE

       2.      Jurisdiction arises under the FDCPA, 15 U.S.C. §1692 et seq., and pursuant to 28

U.S.C. §1331 and 28 U.S.C. §1337.

       3.      Venue is proper in this district pursuant to 28 U.S.C. §1391(b).

                                          III.       PARTIES

       4.      MAMED SAMEDOV, (hereinafter, “Plaintiff”) is an individual who was at all

relevant times residing in the City of Ballwin, County of Saint Louis, State of Missouri.

       5.      The debt that Plaintiff was allegedly obligated to pay was a debt allegedly owed

by Plaintiff to Palm Village (hereinafter “PV”).



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           6.    The debt that Plaintiff allegedly owed PV was for a bill allegedly incurred by

Plaintiff relative to Plaintiff’s former residential apartment.

           7.    At all relevant times, Plaintiff was a “consumer” as that term is defined by 15

U.S.C. §1692a(3).

           8.    HUNTER WARFIELD, INC., (hereinafter, “Defendant”) is a business entity

engaged in the collection of debt within the State of Missouri. Defendant is incorporated in the

State of Florida.

           9.    The principal purpose of Defendant’s business is the collection of debts allegedly

owed to third parties.

           10.   Defendant regularly collects, or attempts to collect, debts allegedly owed to third

parties.

           11.   During the course of its efforts to collect debts allegedly owed to third parties,

Defendant sends to alleged debtors bills, statements, and/or other correspondence via the mail

and/or electronic mail and initiates contact with alleged debtors via various means of

telecommunication, such as the telephone and facsimile.

           12.   At all relevant times, Defendant acted as a debt collector as that term is defined by

15 U.S.C. §1692a(6).

           13.   At all relevant times, Defendant acted through its duly authorized agents,

employees, officers, members, directors, heirs, successors, assigns, principals, trustees, sureties,

subrogees, representatives, and insurers.

                                        IV.    ALLEGATIONS

           14.   In or around February 2012, and on multiple occasions therein, Defendant

initiated multiple telephone calls to Plaintiff in an attempt to collect the debt he allegedly owed.



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       15.     Defendant’s initial telephone conversation with Plaintiff, during the aforesaid

time period, was Defendant’s initial communication with Plaintiff relative to its attempts to

collect a debt Plaintiff allegedly owed.

       16.     During the aforesaid time period, Plaintiff engaged in multiple conversations with

Defendant.

       17.     On multiple occasions, during the course of the aforesaid time period, Defendant

informed Plaintiff that it was calling in relation to a debt he owed to PV.

       18.     On multiple occasions, during the course of the aforesaid time period, Plaintiff

asked Defendant who was calling to identify itself.

       19.     Defendant’s duly authorized representatives answered Plaintiff’s question by

providing their individual names.

       20.     Defendant’s duly authorized representatives then asked Plaintiff “[w]ho are you?”

       21.     Plaintiff then asked Defendant’s duly authorized representatives to state the name

of the company from which they were calling.

       22.     On multiple occasions, during the course of Plaintiff’s telephone conversations

with Defendant, Defendant’s duly authorized representatives did not provide Plaintiff with

information relative to Defendant’s identity.

       23.     On multiple occasions, during the course of Plaintiff’s telephone conversations

with Defendant, Defendant’s duly authorized representatives refused to provide Plaintiff with

information relative to Defendant’s identity.

       24.     On multiple occasions, during the course of Plaintiff’s telephone conversations

with Defendant, Defendant’s duly authorized representatives responded to Plaintiff’s question




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about the name of the company from which they were calling by stating “[n]o. I told you who I

was, now you answer my question.”

       25.     Plaintiff only ascertained Defendant’s identity by contacting PV, which informed

Plaintiff that it had provided Defendant with the account Plaintiff allegedly owed to PV.

       26.     During the course of the aforesaid time period, at the time Defendant initiated the

aforesaid telephone calls to Plaintiff, Plaintiff’s caller identification also listed the telephone

number from where Defendant’s telephone calls had originated.

       27.     Plaintiff further ascertained the aforesaid telephone calls came from Defendant by

viewing the caller identification on his telephone which showed Defendant’s telephone number

as the telephone number from which the aforesaid telephone calls had originated.

       28.     During the course of the aforesaid time period, during a telephone conversation

between Plaintiff and Defendant, Defendant told Plaintiff that he owed a debt to PV as a result of

damage Plaintiff had caused to his previous rental apartment.

       29.     At the time Plaintiff moved out of his residence no damage was caused to the

apartment.

       30.     At the time Plaintiff moved out of his residence, a manager at the residence

inspected Plaintiff’s apartment.

       31.     At the time Plaintiff moved out of his residence, a manager at the residence found

all aspects of the apartment to be in working order and found no damage to the apartment.

       32.     During the course of the aforesaid telephone call between Plaintiff and Defendant,

Plaintiff informed Defendant that he did not owe any money for damage caused to his previous

residential apartment.




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       33.     Plaintiff further informed Defendant that the apartment’s manager had inspected

the apartment at the time Plaintiff moved out and had confirmed Plaintiff did not owe any money

in relation to any damage to the apartment.

       34.     Plaintiff further informed Defendant that he had documentation to demonstrate

that the apartment manager had inspected his apartment and determined no damage existed in the

apartment.

       35.     Defendant responded by informing Plaintiff that he still had to pay the debt but

that Plaintiff could enter into a payment arrangement with Defendant.

       36.     Defendant’s representation to Plaintiff that he was responsible to pay for a debt

relative to damages to the apartment was false, deceptive and/or misleading given that no

damage was left to the Plaintiff and as a result Plaintiff was not responsible to pay for any

damages.

       37.     Defendant’s representation to Plaintiff that he was responsible to pay for a debt

relative to damages to the apartment misrepresented the character, nature and/or legal status of

the debt on which Defendant was attempting to collect given that no damage was left to the

Plaintiff and as a result Plaintiff was not responsible to pay for any damages.

       38.     Defendant has not provided to Plaintiff, within five (5) days of its initial

communication to collect the alleged debt, with written confirmation of the amount of the debt,

the name of the creditor to whom the debt is allegedly owed or a statement that unless the

consumer, within thirty days after receipt of the notice, disputes the validity of the debt, or any

portion thereof, the debt will be assumed to be valid by the debt collector.

       39.      In its attempts to collect the debt allegedly owed by Plaintiff to PV, Defendant

violated the FDCPA, 15 U.S.C. §1692, in one or more of the following ways:



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               a. Placed a telephone call to a consumer without meaningful disclosure of the
                  caller’s identity in violation of 15 U.S.C. §1692d(6);

               b. Used false, deceptive, misleading and unfair or unconscionable means to
                  collect or attempt to collect an alleged debt in violation of 15 U.S.C. §1692e;

               c. Falsely represented the character, amount, or legal status of any debt in
                  violation of 15 U.S.C. §1692e(2)(A);

               d. Used any false representation or deceptive means to collect or attempt to
                  collect any debt or to obtain information concerning the consumer in violation
                  of 15 U.S.C. §1692e(10);

               e. Used unfair and/or unconscionable means to collect or attempt to collect a
                  debt in violation of 15 U.S.C. §1692f;

               f. Failed to comply with the provisions of 15 U.S.C. §1692g(a); and,

               g. Was otherwise deceptive and failed to comply with the provisions of the
                  FDCPA.

       40.     As a result of Defendant’s violations as aforesaid, Plaintiff has suffered, and

continues to suffer, personal humiliation, embarrassment, mental anguish and emotional distress.

                                      V.      JURY DEMAND

       41.     Plaintiff hereby demands a trial by jury on all issues so triable.

                                   VI.     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, MAMED SAMEDOV, by and through his attorneys,

respectfully prays for judgment as follows:

               a.     All actual compensatory damages suffered;

               b.     Statutory damages of $1,000.00;

               c.     Plaintiff’s attorneys’ fees and costs;

               d.     Any other relief deemed appropriate by this Honorable Court.




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                                              Respectfully submitted,
                                              MAMED SAMEDOV

                                        By:    s/ David M. Marco
                                               Attorney for Plaintiff

Dated: May 7, 2012

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